Case 1:08-cv-01329-REB-KLM Document 8 Filed 08/11/08 USDC Colorado Page 1 of 1




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No. 08-cv-01329-REB-KLM

 ROSEANN WHITCOMB,

                Plaintiff,

 v.

 FIRST REVENUE ASSURANCE, LLC, a Delaware limited liability company,

                Defendant.


                   NOTICE OF DISMISSAL WITH PREJUDICE
  ______________________________________________________________________

          COMES NOW the Plaintiff by her undersigned attorney of record who hereby

 notifies the Court that the parties have settled this case and pursuant to Rule 41(a)(1)(i)

 of the Federal Rules of Civil Procedure hereby dismisses this case with prejudice and

 on the merits pursuant hereto with each party to pay her or its own attorney’s fees and

 costs.


 Dated: August 11, 2008.

                                           Respectfully submitted,


                                           _s/ David M. Larson___________
                                           David M. Larson, Esq.
                                           405 S. Cascade Avenue Suite 305
                                           Colorado Springs, CO 80903
                                           (719) 473-0006
                                           Attorney for the Plaintiff
